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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Jason Rahimzadeh
                                            Plaintiff,
v.                                                           Case No.: 1:22−cv−07056
                                                             Honorable Joan H. Lefkow
ACE American Insurance Company
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 12, 2023:


         MINUTE entry before the Honorable Joan H. Lefkow: The parties are ordered to
file a joint status report by July 25, 2023 addressing: (1) the relationship between
Defendant ACE American Insurance Company and Chubb; (2) whether Chubb is a
required party that must be joined as a defendant under Federal Rule of Civil Procedure
19; and (3) whether the court would retain subject matter jurisdiction if Chubb is joined to
this action under Rule 19. Although Chubb is not presently a party to this lawsuit, Plaintiff
describes ACE as "an affiliate of Chubb" (dkt. 1−1 1) and seeks to enforce insurance
coverage under a policy document bearing "Chubb" branding (see id. Ex. B). This
insurance policy identifies ACE as issuing the policy, but directs policyholder questions to
the "Chubb Customer Support Services Department" (id. Ex. B). Plaintiff's complaint also
uses "Chubb" as a shorthand for ACE despite the two seeming to be separate (but related)
companies. Although ACE attaches the policy document bearing Chubb branding to its
motion to dismiss (see dkt. 12−1), neither party makes any mention of Chubb in its
briefing on the motion (see dkts. 12, 14, 15). Other litigation in this district identifies ACE
and Chubb as distinct corporate entities. See, e.g., Viola v. ACE Am. Ins. Co. et al., No.
23 C 3729. As the relationship of Chubb to the parties and facts of this case is unclear, it is
likewise unclear whether the court "can[ ] accord complete relief among existing parties"
without Chubb's involvement in this litigation. Fed. R. Civ. P. 19(a)(1)(A). Mailed notice
(ags)




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